                                                          Entered on Docket
                                                          December 13, 2018
                                                          EDWARD J. EMMONS, CLERK
                                                          U.S. BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF CALIFORNIA




                                                        Signed and Filed: December 13, 2018
 1 DEVIN DERHAM-BURK #104353
   CHAPTER 13 STANDING TRUSTEE
 2 P O BOX 50013
   SAN JOSE, CA 95150-0013
 3
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                                                       HANNAH L. BLUMENSTIEL
 4 Facsimile: (408) 354-5513                           U.S. Bankruptcy Judge

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 7
                                   UNITED STATES BANKRUPTCY COURT
 8
                    NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 9

10 In Re:                                                     )
                                                              )     Chapter 13
11 RICARDO PADILLA                                            )
                                                              )     Case No. 18-50348 HLB
12 YULI SIERRA                                                )
                                        Debtors                     ORDER CONFIRMING PLAN
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14           After notice and opportunity for a hearing it is determined that the Chapter 13 plan satisfies

15    the requirements of 11 U.S.C. § 1325. Therefore, IT IS ORDERED that the plan filed at

16    Docket #36 is confirmed.

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              IT IS FURTHER ORDERED THAT:
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     1.       Any creditor whose claim is entirely disallowed by final non-appealable order, and any
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          creditor listed in the Debtors' Schedules that has not filed a proof of claim by the claims bar
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          date need not be served with notice of any subsequent action in this case by the Debtors or the
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          Trustee, unless such creditor files a request for special notice with the Court, and serves such
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          request on the Trustee and Debtors' attorney. Notwithstanding the above, if any proposed
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          action would directly and adversely impact a creditor, that creditor must be given notice of any
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          motion or application.
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 1   2.       If the Debtors fail to timely tender a payment, the Plan shall be considered in default.

 2        Upon written notice of default by the Trustee, the Debtors shall, within twenty-one (21) days

 3        of said notice: 1) cure the default; 2) meet and confer with the Trustee and enter into an

 4        agreement resolving the default in a manner acceptable to the Trustee; OR 3) file and serve a

 5        Motion to Modify Plan which shall propose terms under which the Plan is not in default and

          which shall provide for Plan completion within sixty (60) months after the time that the first
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          payment under the original plan was due.
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11                                       *** END OF ORDER ***
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                                    COURT SERVICE LIST


 Case Name: RICARDO PADILLA                                             Case No.: 18-50348 HLB
            YULI SIERRA


 Registered ECF Participants will receive an electronically mailed copy of the foregoing document.

 Non-registered parties, and/or those not represented by a registered ECF participant:


 NONE




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